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                   UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS




                                   )
 ANDREW MOBUS,                     )
                                   )
             Plaintiff,            )
                                   )   Civil Action
 v.                                )   No. 17-11011-GAO
                                   )
 BARD COLLEGE, et al.,             )
                                   )
           Defendants.             )
                                   )



         BEFORE THE HONORABLE GEORGE A. O'TOOLE, JR.
              SENIOR UNITED STATES DISTRICT JUDGE


                          STATUS CONFERENCE




            John J. Moakley United States Courthouse
                        Courtroom No. 22
                       One Courthouse Way
                  Boston, Massachusetts 02210
                    Monday, January 29, 2018
                            2:29 p.m.



                   Marcia G. Patrisso, RMR, CRR
                      Official Court Reporter
                 John J. Moakley U.S. Courthouse
                  One Courthouse Way, Room 7209
                   Boston, Massachusetts 02210
                           (617) 737-8728

        Mechanical Steno - Computer-Aided Transcript
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 1    APPEARANCES:

 2          PARTRIDGE, SNOW & HAHN, LLP
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            Boston, Massachusetts 02109
 4          - and -
            PILIERO & ASSOCIATES, PLLC
 5          By: Robert D. Piliero, Esq.
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 6          Fourth Floor
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 7          On Behalf of the Plaintiff

 8          HIRSCH ROBERTS WEINSTEIN LLP
            By: Scott A. Roberts, Esq.
 9              Tobias W. Crawford, Esq.
            24 Federal Street
10          12th Floor
            Boston, Massachusetts 02110
11          On Behalf of the Defendant

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         1                            P R O C E E D I N G S

         2              THE CLERK:    Next up for a status conference, Mobus v.

         3    Bard College, 17-11011.      Would counsel identify yourselves for

         4    the record, please.

         5              MR. DESMERY:    Good afternoon, your Honor.       Martin

         6    Desmery on behalf of the plaintiff, Andrew Mobus.

         7              MR. PILIERO:    Good afternoon, your Honor.       Robert

         8    Piliero also on behalf of the plaintiff, Andrew Mobus.            I'm

         9    admitted pro hac vice here, and I thank you for that, Judge.

00:01   10              MR. ROBERTS:    Good afternoon, Judge O'Toole.         Scott

        11    Roberts for the defendant.

        12              MR. CRAWFORD:     And Toby Crawford also for the

        13    defendant.

        14              THE COURT:    Okay.   Thank you.

        15              This is, I guess, a status conference, right?

        16              MR. DESMERY:    Yes, your Honor.

        17              THE COURT:    So tell me what the status is.          So I'm

        18    aware of the recent motion to compel and opposition.            I don't

        19    want to get into the substance of that today because I haven't

00:01   20    digested it enough.     I think what we will do is set a hearing

        21    on that at some point in the relatively near future so we can

        22    resolve that.

        23              MR. PILIERO:    We would ask your Honor if we could have

        24    permission to file a reply on that.        And if your Honor would

        25    give us two weeks to do that, we'd appreciate it.
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         1              THE COURT:    Okay.   It's a little along the long side

         2    but I'll give it to you.

         3              MR. PILIERO:    Thank you.

         4              THE COURT:    Okay.   Do you want to then address what --

         5    more generally what the status of the case is.

         6              MR. PILIERO:    Yeah.    I think things are going along

         7    well except for the discovery, which is where we are.           There

         8    are issues with respect to some third-party subpoenas that need

         9    to be worked out.     There is our motion to compel.       I believe

00:02   10    that defendant's counsel has indicated they intend to make a

        11    motion to compel with respect to our discovery production.          But

        12    other than that, I think we're proceeding at pace.

        13              THE COURT:    Discovery is open until June sometime, I

        14    think, right?

        15              MR. PILIERO:    That's correct, your Honor.       Yes.

        16              MR. ROBERTS:    I don't disagree with Mr. Piliero with

        17    respect to discovery but I do think that that's where all the

        18    problems are currently.      Just as a précis, your Honor, we've

        19    been put in the position where we've served five third parties,

00:02   20    including Mr. Mobus's father, his mother.         The one to his

        21    father produced 173 pages.      We were told that with respect to

        22    the search that he had performed, he would only search on his

        23    work files, something called "Andrew," nothing else in terms of

        24    applying our search parameters.       He's refused to search Gmail.

        25              Mrs. Malanoski took four months to produce 19 pages to
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         1    us, has also declined to produce her Gmail, and told us, "Well,

         2    I don't have access to my work email."        So we subpoenaed the

         3    work email where she sits on the board of directors.

         4    Initially, we were told there was a problem with the service on

         5    that even though the service was accepted, then we were told it

         6    would be very difficult to respond without search parameters.

         7    We provided search parameters.       Then we were told on Friday,

         8    "We're not doing anything by way of search unless you tell us

         9    you're picking up 100 percent of the tab."

00:03   10              I don't think that's an appropriate way to respond to

        11    a Rule 45 subpoena.     I would very much like to work that out,

        12    but thus far we've really encountered a number of hurdles.

        13    We've received in production lie detector tests that Mr. Mobus

        14    took with respect to one of the proceedings that he was

        15    involved in at Bard College --

        16              THE COURT:    Which one?

        17              MR. PILIERO:    The LF proceeding for which he was found

        18    not responsive.    Not surprisingly, we get those, but we get an

        19    objection on the other one.      We're led to believe he didn't do

00:04   20    so well on that.     When we didn't get those, we then served a

        21    subpoena upon the third-party examiner wanting to know, "Hey,

        22    tell us what he told you about what he did that day."           All of

        23    these are fair game for discovery.       We're told, "No, those are

        24    privileged.    You've got enough."

        25              We filed a subpoena to the Putney School.         We get an
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         1    infirm motion to quash filed here.       We're put to the cost of

         2    opposing that.    We then move to compel up in Vermont, get local

         3    counsel there, are put to the cost of doing that.          Then after

         4    we do all that the subpoena -- the objections to the subpoena

         5    are withdrawn.

         6              So, your Honor, I agree that the problems have been in

         7    the discovery process right now, but I really think that what

         8    I've laid out for you right now indicate some real problems

         9    with respect to how discovery has been handled on the other

00:05   10    side.   And there are a number of ways we can approach this.        On

        11    the third-party subpoena to -- or the requests for the lie

        12    detecter results, we had to go down to Washington, D.C., to see

        13    them, we went up to Vermont, we're going to New York for the

        14    one for Mrs. Mobus's -- or excuse me -- Ms. Malonoski's

        15    employer, but the reality is that there's now a number of

        16    hurdles that we need to get over, and we think we'll get over

        17    all of them, but it is becoming time-consuming at this point.

        18    I mean, to serve a subpoena on Ms. Malanoski on August 2nd and

        19    then on November 30th to get 19 pages and be told, "Hmm, she

00:05   20    doesn't have access to what she had at work," tends to slow the

        21    process down.

        22              So I am a little bit concerned about the June 1st

        23    deadline for discovery.      If we had all of the documents right

        24    now, we'd be able to dive right into depositions.          And I don't

        25    think there will be that many.       But I think there are a number
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         1    of issues --

         2               THE COURT:   You don't think there will be that many

         3    what, depositions or documents?

         4               MR. ROBERTS:   No, depositions.

         5               THE COURT:   Okay.

         6               MR. ROBERTS:   So I am concerned about that in terms

         7    what it means with respect to the status moving forward.

         8               MR. PILIERO:   The big picture that is painted I'd like

         9    to respond to a little bit, your Honor.        As far as the

00:06   10    parents', subpoenas to the parents, Ms. Malanoski -- Marilyn

        11    Malanoski is the mother.      She was not very, very much involved

        12    in the to's and fro's with respect to what went on.             She

        13    searched the emails that she has -- the email account she has.

        14               She used to work for a company.      She was the head of

        15    investment banking for a company called Morgan Joseph.            They're

        16    in windup, and they've been in windup since 2015, I think,

        17    which means she does not have access to their emails.            It's not

        18    made up.   They have served a subpoena on Morgan Joseph.              The

        19    subpoena was exceedingly broad.       It basically asked them for

00:07   20    everything under the sun.       I don't have it in front of me.         I

        21    wish I did.    And we talked about that.      And I asked for search

        22    terms and they did give search terms and I have agreed to the

        23    search terms.

        24               I'm told by Morgan Joseph that the task of doing that

        25    literally because they don't have a server anymore -- they have
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         1    the data stored elsewhere -- it takes about 24 hours a pop for

         2    each year in order to load it, and then they've got to do the

         3    searches.    And there is some 25, 30 search terms, which we

         4    haven't objected to.

         5                As far as the payment for it, it's not a lot of money.

         6    It's just on principle.      The third party really doesn't care to

         7    pay for it.    It's only -- I think it's less than $2500.        It's

         8    not very much.    But we are proceeding at pace on that.        And we

         9    have responded and updated that as often as we could.

00:07   10                As far as the subpoena to Mr. Mobus, that too, as far

        11    as I understand, everything was given.        If people have -- know

        12    what kinds of -- which email accounts they use for which

        13    purpose -- for example, Mr. Mobus has got a business.           He's a

        14    turnaround guy.       And so his business he knows he doesn't use

        15    for his personal stuff.      So the idea of searching through that

        16    just seems to be a waste of time.

        17                As far as the third-party subpoena to the polygrapher,

        18    I don't know how Mr. Roberts was led to believe what the result

        19    was of a second polygraph that we have never even established

00:08   20    was taken, but that suits the theory of the case, I guess.          My

        21    understanding is that polygraph evidence is not admissible at

        22    trial, and it is so clearly not admissible at trial that asking

        23    for it in discovery is not appropriate either.         That's my

        24    understanding.

        25                Putney:    He's right.   We initially objected to the
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         1    subpoena to Putney which is very, very broad.         Putney is a

         2    school that Andrew Mobus went to right before he went to

         3    Simon's Rock.    Very, very broad subpoena asking for every

         4    aspect of his life there.      We objected to it.     They then

         5    proceeded, and then we saw that what they were doing was they

         6    were looking at shadows.

         7              They submitted an affidavit by Sue Lyon at Simon's

         8    Rock to support their inquiry -- their broad-based inquiry to

         9    Putney that said, "I heard from one student that another

00:09   10    student told that student that Andrew had a problem at Putney."

        11    That was the predicate.      We saw that and I spoke to Mr. Mobus

        12    and I said, "Do you know what?       The best way to let people see

        13    there's nothing there is to turn the light on," so we withdrew

        14    our objection.    We're being castigated for that.

        15              We have been trying very hard under very difficult

        16    circumstances to cooperate, Judge.       And when we get to the

        17    motion to compel, which I know is not going to be today, you

        18    will see that the opposite side of that coin may be different.

        19    Thank you.

00:10   20              MR. ROBERTS:    I do want to respond briefly.         With

        21    respect to The Putney School in terms of chasing shadows, we

        22    laid out the theory in our motion to compel to The Putney

        23    School and that caused Mr. Desmery to inform me right away that

        24    they were withdrawing their objection.        Far from shooting at

        25    shadows, what those documents -- and the small production we've
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         1    received from Putney thus to date -- indicates that what

         2    Mr. Mobus represented coming into Simon's Rock, particularly

         3    about his ability to continue on at Putney, was not true.          It

         4    also revealed that what he had said under oath in the trial in

         5    Maryland, his reason for departure were purely academic, was

         6    not true.    So this is not chasing shadows.       Your Honor, there

         7    is a legitimate reason we are looking for this.          And this is

         8    discovery and that's what we are pursuing.

         9                As for the polygrapher, Mr. Piliero's assertion that

00:11   10    the results of a polygraph exam may not be admissible in

        11    evidence?    I'm not going to dispute him on that point.         But as

        12    I informed both Mr. Piliero and Mr. Desmery, the law is clear,

        13    and I provided them federal court citations out of Pennsylvania

        14    indicating, but that doesn't mean discovery regarding a

        15    polygraph result and communications with a polygrapher are

        16    irrelevant.    For example, let's assume that Mr. Mobus told the

        17    polygrapher, "Yup, I did it.       I did sexually assault her."     Or

        18    he registered false on that and there was a follow-up on that.

        19    That's documents that we certainly are entitled to get in

00:11   20    discovery but we've been told that they're privileged, yet no

        21    privilege log from the polygrapher and no privilege log from

        22    Mr. Mobus indicating that those documents are privileged.

        23                So as for the subpoena to Morgan Joseph, I guess if

        24    it's a modest amount and they're now saying they're doing this

        25    on principle, essentially what I'm hearing from Mr. Piliero is
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         1    for $2500 we've got a company that at least at the end of 2016

         2    had $1.5 million that it was reporting to the SEC that has done

         3    million-dollar deals, according to its website, on which

         4    Mrs. Mobus sits on the board of directors, but they want to

         5    hang us out for $2500 on principle.        As I said, had we just

         6    been told, "Listen, do you want to share the costs?              Or "Here's

         7    the third-party vendor that we'll use neutrally to try to

         8    figure out what's over there..."

         9               Right now all I know is that Mr. Piliero's side of the

00:12   10    table is controlling MJTA, so we think they're still interested

        11    in this.    He selected a forensic person I don't know, and I'm

        12    being told that there are costs to run, as he said, reasonably

        13    narrowed searches that take far longer, according to his IT

        14    person, than ours has suggested it would take.          At the end of

        15    the day if it means splitting the cost of that to get the

        16    documents and actually having the search run, I'm certainly

        17    willing to consider that; what I found problematic was the

        18    declaration on Friday of, "Unless you pay, we're not doing it.

        19    We're not even conducting the search."

00:13   20               So those have been problematic, your Honor.            And as I

        21    said, it's creating the hurdles, and we'll just keep going over

        22    them.

        23               MR. PILIERO:    Briefly, Judge.

        24               THE COURT:    No, we're not going to resolve any of this

        25    today.
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         1               MR. PILIERO:     Okay.

         2               THE COURT:    So one thing -- I haven't spent much time,

         3    frankly, getting familiar with the case, but one thing I can't

         4    figure out is what the dispute is over Bard versus Simon's Rock

         5    and what it means to be a unit of Bard.

         6               Let me start with -- I guess the defendant is Bard.

         7               MR. ROBERTS:     Sure.    Simon's Rock is a separately

         8    accredited institution.      It is recognized by the Department of

         9    Education as a separately accredited institution.          It has and

00:14   10    is the only school Andrew Mobus ever applied to or went to.              It

        11    has its own distinct policy and procedures.         It has an entirely

        12    different Title IX process.         Literally two entirely different

        13    systems.    The entire --

        14               THE COURT:    Apart from the legalities, tell me in the

        15    real world why students go to one and not the other.             And I

        16    don't even know what they do.

        17               MR. ROBERTS:     Oh, they're very different schools.

        18    Bard College and Simon's Rock is what's called -- and it's the

        19    first time I've heard of it -- a "young college."          It pitches

00:15   20    itself to high school students who have reached sophomore year,

        21    and at that point those who are particularly capable or able to

        22    handle the college environment apply, and in two years -- what

        23    would have been their two final years of high school -- they

        24    get an associate's degree, or they can continue to stay on for

        25    a full four years and get a bachelor's degree.          So they're
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         1    pitched, if you will, to entirely different audiences and they

         2    are run entirely separately.       Yes, you have the Provost

         3    reporting to the president of Bard college, but there's no

         4    overlap of processes in this case whatsoever.

         5                THE COURT:   You haven't, I guess, disputed that the

         6    proper defendant is Bard College?

         7                MR. ROBERTS:   I've said before that I thought that the

         8    proper defendant here was Bard College and Simon's Rock.         I

         9    said that years ago to Mr. --

00:15   10                THE COURT:   I mean, they're not distinct legal

        11    entities; they're one legal entity.        Is that right?

        12                MR. ROBERTS:   Your Honor, I don't ever want to mislead

        13    a court when I'm asked a question so I do not know, as he has

        14    repeatedly said, that they're the same juridical entity.         I do

        15    not know.

        16                MR. PILIERO:   They are.    There's only one -- it's his

        17    client.    I'm sure that he could find out pretty easily.

        18                The issue is -- first of all, it's very, very clear

        19    there's a lot of overlap in the governance of Bard College and

00:16   20    Simon's Rock.     The president of Bard College is Leon Botstein.

        21    He's also the CEO of Simon's Rock.        Bard College of Simon's

        22    Rock.   The brochure says that Simon's Rock is run under the

        23    supervision of the board of trustees of Bard College.

        24                But even that's not the point.      The point is this:

        25    The point is that the gravamen of our case is that there was
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         1    sexual -- that there was gender discrimination against my

         2    client under Title IX, and the reason for that was that Bard

         3    College was under pressure, as were a lot of colleges from the

         4    Office of Civil Rights' Department of Education.          Under the

         5    threat of losing their funding, they needed to be sure that

         6    they were doing what the OCR at that time thought was

         7    appropriate.

         8               In May of 2014, which is when the complaint was issued

         9    against my client, the OCR published a report which showed that

00:17   10    Bard College was the second largest in the state of New York

        11    with sexual misconduct complaints over the prior three years.

        12    Bard College was scrambling.       They wanted to make sure that

        13    they didn't get in trouble.

        14               To me the idea that Bard College, Leon Botstein's Bard

        15    College, Leo Botstein over at Simon's Rock, is not saying,

        16    "Let's just all of us be sure that we're dotting all the I's

        17    and crossing the T's."      It's beyond -- all we want is

        18    correspondence between Bard College and the OCR.          We're not

        19    looking for student files.       He invokes a decision by one of

00:18   20    your colleagues on this court.       We're not looking for those

        21    things, we're not looking for other cases.         We've got enough to

        22    look at.    I want to see what was going on between Bard College,

        23    Simon's Rock and OCR.

        24               MR. ROBERTS:    Your Honor, if you would like me to

        25    continue to argue, I'd be happy to do that.
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         1               THE COURT:    No, I don't.

         2               MR. ROBERTS:    Okay.

         3               THE COURT:    I just wanted to be -- among other things,

         4    I wanted to be sure we weren't getting into the problem of

         5    having the wrong defendant, that's all.         I guess we don't

         6    necessarily.

         7               Okay.   I think so, hearing the discussion, but are

         8    there going to be more discovery motions in the near future?           I

         9    can predict the long term.

00:19   10               MR. ROBERTS:    At this stage of the game that is

        11    predicted unless these are resolved.

        12               THE COURT:    So...

        13               MR. ROBERTS:    I don't know that they'll be in front of

        14    you, your Honor.     They may be in Connecticut, they may be --

        15               THE COURT:    Right.    But there are some presently

        16    existing controversies that could be the subject of discovery

        17    motions.

        18               MR. ROBERTS:    Correct.

        19               THE COURT:    Okay.    Why don't we set a deadline for

00:19   20    bringing those motions or not, and then we can hear all the

        21    discovery matters together rather than having a series of

        22    discovery hearings.

        23               MR. ROBERTS:    That will be fine, your Honor.        The

        24    other thing I would --

        25               THE COURT:    What would be an appropriate time limit
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         1    for file or not?     A couple of weeks?     A month?

         2               MR. ROBERTS:    Yeah, at least -- because we've not

         3    received what we expected to receive from The Putney School yet

         4    with the number of extensions.       I think that 30 days would

         5    probably be a good idea.      And, your Honor, we've also

         6    referenced that we do intend to move to amend, to add an

         7    affirmative defense as well as a possible counterclaim for

         8    fraud.    I know that there has been some concern about whether

         9    or not there's a good reason to do that after September 30th,

00:20   10    which was originally the date for filing those, but the

        11    information that we've learned was learned after September

        12    30th.    I would again like to see what is in the Putney

        13    production.    So, your Honor, I would commit to trying to get a

        14    motion then in to the Court as well within 30 days provided

        15    that --

        16               THE COURT:    Well, I only want to address discovery at

        17    this point.

        18               MR. ROBERTS:    All right.    That's fine.

        19               MR. PILIERO:    Defendant -- I have an objection.

00:20   20    Defendant's document production to us is not complete so I

        21    don't know whether or not there would be a motion.          There are

        22    things they said they would produce.        I haven't seen them and

        23    so I have to reserve on that as well.        So if I can find out

        24    when they will complete their document production, then we can

        25    set a deadline after that for --
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         1                THE COURT:   Well, I think I want to set a deadline

         2    right now.    So February 28th, which is about a month -- this is

         3    the 29th of January -- for service of discovery motions, and

         4    then we'll at some point have an organized hearing on

         5    outstanding discovery, okay?

         6                MR. PILIERO:   We had talked earlier about putting off

         7    the -- do you want to put the existing motion to compel against

         8    them on the same timetable?

         9                THE COURT:   Yes.

00:21   10                MR. PILIERO:   So put that back too.

        11                THE COURT:   That's filed.    You're going to file a

        12    response?

        13                MR. PILIERO:   I'll file a response in two weeks and

        14    then we'll --

        15                THE COURT:   But it will be a part of what may be

        16    multiple motions unless you're able to come to some agreements.

        17                MR. ROBERTS:   From your lips to God's ears.

        18                MR. PILIERO:   Your Honor, I'm just sitting here

        19    listening to motions -- argument, really, on motions that

00:21   20    haven't been filed yet, but one of the things that Mr. Roberts

        21    said, he mentioned a discovery deadline and that it may be

        22    difficult to complete discovery within the existing deadline

        23    depending on how these motions shake out.

        24                My only question to you is:     Would this be the

        25    appropriate time to seek leave to amend that schedule or should
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 1    we do that later on down the road after --

 2               THE COURT:    No.

 3               MR. PILIERO:    Gotcha.   Thank you.

 4               THE COURT:    Okay.   Thank you.

 5               MR. ROBERTS:    Thank you.

 6               MR. PILIERO:    Thank you, your Honor.

 7               (The proceedings adjourned at 2:51 p.m.)

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 1                          C E R T I F I C A T E

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 3               I, Marcia G. Patrisso, RMR, CRR, Official Reporter of

 4    the United States District Court, do hereby certify that the

 5    foregoing transcript constitutes, to the best of my skill and

 6    ability, a true and accurate transcription of my stenotype

 7    notes taken in the matter of Civil Action No. 17-11011-GAO,

 8    Andrew Mobus v. Bard College, et al.

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10    /s/ Marcia G. Patrisso
      MARCIA G. PATRISSO, RMR, CRR
11    Official Court Reporter

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      Date:   2/2/18
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